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                                                                                                        10/30/2020
                                                      U.S. Department of Justice
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      October 27, 2020

By ECF
The Honorable Katherine H. Parker
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     Debra Early-King v. United States, 18 Civ. 142 (KHP)

Dear Judge Parker,

        This Office represents the United States, the defendant in the above-referenced Federal
Tort Claims Act case. We write respectfully on behalf of the parties to request an adjournment of
the commencement of the bench trial in this matter, from November 16, 2020, to January 19,
2021. The adjournment is requested because the parties have learned that a key third-party
witness, Dr. Abtin Tabaee, the specialist who treated the plaintiff shortly after the visits with the
federally-funded clinic at issue in this case, will be unavailable during most of the month of
November. Although Dr. Tabaee had been previously made aware of the trial date, his schedule
has since changed in light of a heavy workload caused by the COVID-19 pandemic.

         The parties have been in communication with Your Honor’s Courtroom Deputy and the
various witnesses to find the earliest week during which the trial could take place, should the
Court grant the adjournment. In the event the parties’ request is granted, we would respectfully
request an adjournment of the final pretrial conference currently set for November 9, 2020, and
an appropriate extension of the deadline for pretrial submissions, currently November 2, 2020.
This is the second request for an adjournment of the trial, which was previously adjourned due to
the ongoing COVID-19 pandemic. See Dkt. No. 40.

       Thank you for your consideration of this matter.


                                     The current trial date of November 16, 2020, and all pre-
                                     trial filing deadlines, are hereby adjourned. The
                                     November 9, 2020 final pre-trial conference will be held
                                     as scheduled, but will not be the final conference prior to
                                     trial. At the November 9, 2020 conference, the Court will
              10/30/2020             discuss a new trial date and new pre-trial deadlines with
                                     the parties.
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                                 Respectfully submitted,

                                 AUDREY STRAUSS
                                 Acting United States Attorney

                    By:          /s/ Stephen Cha-Kim
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